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                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

                                     LAFAYETTE DIFISION

 JOHN THIBODEAUX, AMY THIBODEAUX,                             *       CIVIL ACTION
 GABRIELLE THIBODEAUX, AND EMILY
 THIBODEAUX                                                   *       NO. 18-501

 PLAINTIFFS                                                   *       UNASSIGNED DISTRICT
                                                                      JUDGE
 VERSUS                                                       *
                                                                      MAGISTRATE JUDGE
 J.M. DRILLING, LLC, ADMIRAL INSURANCE                        *       CAROL B. WHITEHURST
 COMPANY, ROCKHILL INSURANCE COMPANY,
 AND BELLSOUTH TELECOMMUNICATIONS, LLC                        *

 DEFENDANTS                                      *
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                 MOTION FOR LEAVE TO FILE EXHIBIT UNDER SEAL

         NOW INTO COURT, through undersigned counsel, comes Admiral Insurance

 Company (“Admiral”), and pursuant to Local Rule 5.7.06 and Rule II of the Administrative

 Procedures for Filing Documents of the United States District Court for the Western District of

 Louisiana, hereby moves this Honorable Court for leave to file Admiral’s Exhibit “A” to its

 Memorandum in Support of Motion to Dismiss Pursuant to Rule 12(b)(1) and 12(b)(6) [Rec.Doc.

 54-1], under seal of this Court, so as to protect the confidential, sensitive and proprietary nature

 of the information contained within said document from disclosure to third-parties and

 competitors of Admiral’s insured, JM Drilling, LLC, and guard it against any potential harm to

 its business interests, now, therefore, respectfully moves this Honorable Court for leave to file

 the attached Exhibit “A” into the court record under seal by order of the Court in the captioned

 civil action.



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                                                Respectfully submitted,


                                                s/ Michael J. Vondenstein
                                                MICHAEL J. VONDENSTEIN
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                                                Attorney for ADMIRAL INSURANCE
                                                COMPANY

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 26, 2018, I electronically filed the foregoing with

 the Clerk of Court by using the CM/ECF system, which will send a copy of same, along with a

 Notice of Electronic Filing, to all counsel for record.


                                                           s/ Michael J. Vondenstein
                                                           MICHAEL J. VONDENSTEIN




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